Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Pagei of 8

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: )
)
Chee Wei Fong, ) Case No. 20-16813-JGR
)
Debtor. ) Chapter 11
) Subchapter V
)

 

DEBTOR ’S MOTION FOR ORDER AUTHORIZING RULE 2004 EXAMINATION AND
PRODUCTION OF DOCUMENTS FROM EDWARD J. KLEN, STEPHEN J. KLEN,
ANGRY BEAVERS LLC, HOLESTEIN SELF STORAGE LLC, AND GREAT WESTERN
BANK

 

Chee Wei Fong, (“Debtor in Possession” or “Debtor”’), through undersigned counsel,
BUECHLER LAW OFFICE LLC, requests an order pursuant to Fed. R. Bankr. P. 2004, authorizing
the Debtor to conduct an examination and obtain documents as provided below, and in support,
states as follows:

CASE HISTORY

1. The Debtor filed for relief in the United States Bankruptcy Court for the District of Colorado
(the “Bankruptcy Court”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) on October 16, 2020, (the “Petition Date”), and is operating as a Debtor-in-Possession.

2. The Debtor and Richard Weingarten (“Mr. Weingarten”) formed two separate limited liability
companies in which they equally own 100% of all membership interests: Armed Beavers, LLC
(“Armed Beavers”) and Happy Beavers, LLC (“Happy Beavers”).

3. In April of 2017, Armed Beavers purchased, inter alia, the following assets from Edward J.
Klen and Stephen J. Klen (collectively the “Klens”): (i) 100% of the membership interests of
Gunsmoke, LLC d/b/a Front Range Gun Club (the “Gunsmoke”); and (ii) all of Gunsmoke’s

personal property associated with the its firing range business (collectively the “Business Assets”)
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Page2 of 8

(including all interests, tangible and intangible, related to the operation of the gun range known as
Front Range Gun Club).

4. Also in April of 2017, Happy Beavers purchased certain real property and fixtures known by
street address as 697 N Denver Ave., Loveland, CO 80537 (collectively the “Real Property”) from
Angry Beavers, LLC and Holstein Self Service Storage, LLC (which, upon information and belief,
were entities wholly owned and managed by the Klens). The firing range business was and has at
all times been operated out of the Real Property.

5. On April 26, 2017, Great Western Bank (“GWB”) to whom the Klens were already obligated
as a result of their ownership of the Front Range Gun Club, provided a loan in the amount of
$3,600,000.00 (the “Loan”) to Happy Beavers, LLC for the purpose of facilitating Happy Beavers,
LLC’s purchase of the Real Property. As a condition of issuing the Loan, GWB required the
Debtor and Mr. Weingarten to execute and deliver to it personal unsecured guarantees of all
indebtedness related to and arising in connection with the Loan (the “Debtor’s Guaranty” and
“Mr. Weingarten’s Guaranty” respectively). Additionally, GWB required that the Loan be
secured by the business assets and the real property comprising the Front Range Gun Club.

6. The Klens then existing obligations to GWB were satisfied at that time.

7. As part of the sale transaction, the Debtor became indebted to the Klens and Angry Beavers
LLC, on an unsecured basis. The Debtor estimates, based upon the claims filed by Edward Klen
and Stephen Klen and Angry Beavers LLC in the cases of Happy Beavers LLC, Case No. 20-
14853 JGR, Armed Beavers LLC, Case No. 20-14963 JGR and Gunsmoke LLC, Case No. 10-
14962 JGR, that they may claim a total amount owed of $1,292,972.18. If these claims are
disallowed, and/or offset, such amounts could change.

8. The Klens and Angry Beavers LLC are listed in the Debtor’s schedules as having an
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Page3 of 8

unliquidated, unsecured deficiency claim, in an unknown amount, which is listed as disputed by
the Debtor.

9. The Debtor has reason to believe that the Klens and Angry Beavers LLC knowingly concealed
the true deteriorating financial condition of the Front Range Gun Club, including declining
membership, sales and gun range revenues, and concealed the failing or defective condition of
critical equipment. The Debtor believes the Klens purposefully failed to disclose information that,
had it been disclosed, would have resulted in the failure of the sale to close, all to the financial
detriment of the Klens and Angry Beavers LLC and their obligations to GWB.

10. The Debtor has listed as an asset of the estate claims she may have against the Klens and
Angry Beavers LLC including those for possible misrepresentation, fraud, civil conspiracy and
likely others resulting from the April 2017 purchase of the Front Range Gun Club and the resulting
personal liability created by that transaction for the Debtor. The value of the claims is listed as
unknown in the schedules.

11. The claims of the Debtor also constitute an offset against any future proof of claim that
may be filed by the Klens and Angry Beavers LLC in this case.

12. In order to properly investigate the potential claims of the Debtor and offsets that may
exist visa a vie the Klens and Angry Beavers LLC, the Debtor through undersigned counsel sent
a letter dated November 14, 2020 to counsel for the Klens and Angry Beavers LLC seeking
voluntary production of certain personal and business records of the Klens and Angry Beaves LLC.
The letter was sent in the hopes of avoiding the filing of this Motion.

10. There has been no reply to the November 14, 2020 letter.

11. The Debtor desires to obtain discovery from the Klens, Holestein Self Storage LLC and

Angry Beavers LLC, and all insiders, affiliates and others as identified herein and related to the
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Page4 of 8

matters identified above and any other matters affecting assets, liabilities and the administration
of the Debtor’s estate, including but not limited to the documents and communications listed on
Exhibit “A” attached hereto. The discovery will include but not be limited to the taking of the
Rule 2004 examinations

of Stephen J. Klen, Edward J. Klen, and a representative officer, member, or manager of Angry
Beavers LLC.

12. The Debtor also will be requesting the production of documents from Great Western Bank
concerning the financial transactions and loans between GWB and Stephen J. Klen, Edward J.
Klen, Armed Beavers, LLC (“Armed Beavers”), Happy Beavers, LLC (“Happy Beavers”),
Holestein Self Storage LLC, and Gunsmoke LLC. A Rule 45 subpoena will be served upon GWB
for the documents sought. Pursuant to a pending stipulation before the Court for approval with
GWB, no claims are being pursued against GWB.

13. Under Fed. R. Bankr. P. 2004(b), the Court may order the examination of any entity regarding
the acts, conduct, or property, or to the liabilities and financial condition of a Debtor or to any
matter which may affect the administration of the estates. The documents and information the
Debtor seeks relate directly to assets and liabilities of the estate and potential claims of the Debtor
and the estate.

14. The Debtor will conduct the Rule 2004 examinations through the use of remote examination,
via Zoom or other available provider, and will utilize a court reporter for such services. The Debtor
will coordinate a date, time and place for the examination(s) with counsel for the Klens, Holestein
Self Storage LLC and Angry Beavers LLC.

15. The Debtor will also coordinate all document production requests with GWB and its counsel.
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Page5d of 8

WHEREFORE, the Debtor requests that the Court enter an Order authorizing it to obtain
documents, serve subpoenas, and conduct examinations of the entities described above, including
Stephen J. Klen, Edward J. Klen, Angry Beavers LLC, Holestein Self Storage LLC, and Great

Western Bank, and to grant any additional relief as the Court deems proper.

Dated: December 15, 2020 Respectfully submitted,
BUECHLER LAW OFFICE, L.L.C.
Michael J. Guyerson, Esq #11279

{s/ Michael J. Guyerson
999 18th Street, Suite 1230-S

Denver, Colorado 80202
Tel: 720-381-0045

Fax: 720-381-0382
Counsel to Debtor
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Pageé of 8

EXHIBIT A
DEFINITIONS AND INSTRUCTIONS

A. The words “Document” and “Documents” shall have the meaning given them in
Fed. R. Civ. P. 34(a) and shall also include Communications as defined below. Unless otherwise
indicated, the time period with respect to the Documents shall be from January 1, 2015 through
January 1, 2018, and shall be limited to Documents in your possession, custody, or control.

B. The terms “Communication” and “Communications” include the transmission of
facts, opinions, beliefs, and any other form of information or expressions of thought between or
among persons or entities or the rendition of such information and expressions of thought by a
person or entity to himself, itself or to a file. Unless otherwise indicated, the time period with
respect to the Communications shall be from January 1, 2015 through January 1, 2018.

C. “Debtor” shall mean the Debtor in the present case.

D. The word “or” includes “and/or.”

E. “You” or “your” means individually or collectively the person to whom this request
is directed.

F, “Relate” or “relating to” are to be used in their broadest sense and mean to refer to,

discuss, involve, reflect, deal with, consist of, represent, constitute, emanate from, be directed at,
or in any way pertain, in whole or in part, to the subject of the request.

G. Pursuant to Fed. R. Civ. P. 34(b)(1)(C), the Debtor requests that all responsive
emails, word processing documents, and spreadsheet documents be produced in their native
electronic format. The Committee requests that any responsive electronic information stored
in and used by accounting programs be produced in Microsoft Excel readable format.

H. The phrase “All Documents and Communications” should be read to exclude
attorney-client privileged materials, but in the event materials exists which are claimed as
privileged please provide a privilege log, through counsel, to the Committee.

DOCUMENTS TO BE PRODUCED

1. All financial statements for Gunsmoke LLC, Angry Beavers LLC, and Holestein Self
Storage, LLC for the time period of January 1, 2015 to January 1, 2018.

2. All personal financial statements given by you to Great Western Bank in connection with
the outstanding loans of Gunsmoke LLC, Angry Beavers LLC, and Holestein Self Storage, LLC
for the time period of January 1, 2015 to January 1, 2018.

3. All personal financial statements given by you to Great Western Bank in connection with
all personal loans you may have had for the time period of January 1, 2015 to January 1, 2018.

1
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Page7 of 8

4 All personal financial statements given by you to Great Western Bank in connection with
any guarantees of the outstanding loans of Gunsmoke LLC, Angry Beavers LLC, and Holestein
Self Storage, LLC for the time period of January 1, 2015 to January 1, 2018.

5. All business records pertaining to the number of gun club members of the Front Range Gun
Club for the time period of January 1, 2015 to January 1, 2018.

6. All business records pertaining to Front Range Gun Club cash sales, gun range income
and expenses, including bank statements for Gunsmoke LLC, Angry Beavers LLC, and) Holestein
Self Storage, LLC for the time period of for the time period of January 1, 2015 to January 1, 2018.

7. Your personal federal tax returns for the years 2015, 2016 and 2017.

8. All business federal tax returns for (a) Gunsmoke LLC, (b) Angry Beavers, LLC and (c)
Holstein Self Service Storage, LLC for the years 2015, 2016, and 2017.

9. All maintenance and repairs records for all machinery and equipment of the Front Range
Gun Club, Gunsmoke LLC, and Angry Beavers LLC for the years 2015, 2016, and 2017.

10. All communications between you and GWB concerning the loans of GWB to Gunsmoke
LLC,) Angry Beavers LLC, and Holestein Self Storage, LLC during the time period of January 1,
2015 to January 1, 2018.

it. Att communications between you and GWB concerning the loans of GWB to you or your
guarantee of any obligations of Gunsmoke LLC, Angry Beavers LLC, and Holestein Self Storage,
LLC during the time period of January 1, 2015 to January 1, 2018.

12. All communications between you and Stephen J. Klen, or Edward J. Klen, or Gunsmoke
LLC, or Angry Beavers LLC, or Holestein Self Storage, LLC concerning the possible sale of the
Front Range Gun Club during the time period of January 1, 2015 to January 1, 2018.

13. All communications between you and Great Western Bank concerning the possible sale of
the Front Range Gun Club during the time period of January 1, 2015 to January 1, 2018.
Case:20-16813-JGR Doc#:66 Filed:12/15/20 Entered:12/15/20 16:39:39 Pages of 8

CERTIFICATE OF SERVICE

The undersigned certifies that on December 15, 2020, I served by prepaid first class mail [or
(other acceptable means, i.e. via hand delivery] a copy of the Debtor’s Motion For Order
Authorizing Rule 2004 Examination And Production of Documents From Edward J. Klen,
Stephen J. Klen, Angry Beavers LLC, Holestein Self Storage LLC, and Great Western
Bank, on all parties against whom relief is sought and those otherwise entitled to service
pursuant to FED.R.BANKR.P. and these L.B.R. at the following addresses:

VIA U.S. MAIL and/or Email:
Chee Wei Fong

3751 W. 136" Avenue, Unit $2
Broomfield, CO 80023

 

 

 

 

 

 

 

 

Via CM/ECF:
Nancy D. Miller Ingrid J. DeFranco
Michael C. Payne Abbey Dreher
Alison Goldenberg Joli A. Lofstedt
U.S. Trustee
Dated December 15, 2020 /s/ Teresa White

For Buechler Law Office, L.L.C.
